     Case 2:13-cr-00144-RAH-SMD Document 118 Filed 12/30/20 Page 1 of 5




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           ) CASE NO. 2:13-cr-144-RAH
                                             )
EDMUND MCCALL                                )

                                          ORDER

      Pending before the Court is the Pro Se Renewed Motion for Reduction of Sentence,

(Doc. 107), filed on July 27, 2020, in which Defendant Edmund McCall seeks to modify

his imposed term of imprisonment pursuant to 18 U.S.C. § 3582(c)(1)(A). Specifically, he

asserts that there is a risk of infection with COVID-19 in the Federal Correctional

Institution and his family needs him.

      On July 1, 2014, Defendant McCall entered a plea of guilty to, and was convicted

of, one count of aiding and abetting wire fraud, in violation of 18 U.S.C. § 1343 and 18

U.S.C. § 2 (Count Two), and one count of aiding and abetting aggravated identity theft, in

violation of 18 U.S.C. § 1028A and 18 U.S.C. § 2 (Count Seven). On October 28, 2014,

he was sentenced to 132 months of imprisonment.1



                                        DISCUSSION


1
 Specifically, the Defendant was sentenced to 108 months of imprisonment on Count Two
and 24 months of imprisonment on Count Seven to be served consecutively. The Court
also ordered that the 24-month sentence imposed under Count Seven in this case should
run consecutively to the sentence imposed in Middle District of Alabama, Case Number
2:12-cr-204.
     Case 2:13-cr-00144-RAH-SMD Document 118 Filed 12/30/20 Page 2 of 5




       The Defendant asserts he is entitled to a sentence reduction because there is a risk

of infection with COVID-19 in the Federal Correctional Institution in Oakdale, Louisiana,

and his family has struggled in his absence.

       “The authority of a district court to modify an imprisonment sentence is

narrowly limited by statute.” United States v. Phillips, 597 F.3d 1190, 1194–95 (11th Cir.

2010). Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), as amended by the First Step Act of 2018,

the Court may modify a criminal sentence when a defendant demonstrates that he has

exhausted his available administrative remedies and “extraordinary and compelling

reasons” warrant a sentence reduction. A reduction in sentence for “extraordinary and

compelling reasons” must be “consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A).         The Sentencing Commission's

applicable policy statement is set forth at Application Note 1 to the Commentary of §

1B1.13 of the U.S. Sentencing Guidelines, which defines “extraordinary and compelling

reasons” as including (i) a terminal illness; (ii) the defendant's serious medical condition

“that substantially diminishes the ability of the defendant to provide self-care within the

environment of a correctional facility and from which he or she is not expected to recover”;

(iii) the advanced age of the defendant; (iii) family circumstances such as death or

incapacitation of the caregiver of the defendant's minor children; and (iv) other reasons

“[a]s determined by the Director of the Bureau of Prisons.”

       Moreover, a defendant may only move for such a reduction after he “has fully

exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a

motion on the defendant’s behalf or [after] the lapse of 30 days from the receipt of such a

                                               2
     Case 2:13-cr-00144-RAH-SMD Document 118 Filed 12/30/20 Page 3 of 5




request by the warden of the defendant’s facility, whichever is earlier.” 18 U.S.C. §

3582(c)(1)(A).    In their response, the Government does not dispute the Defendant

exhausted his administrative remedies. (Doc. 115, at 6.)

       The Government, however, asserts the Defendant has failed to identify

“extraordinary and compelling reasons” for a sentence reduction. Turning to the merits of

the Defendant’s Motion, it is clear his request for compassionate release is due to be denied.

The Defendant bears the burden of demonstrating that his circumstances are extraordinary

and compelling. United States v. Hamilton, 715 F.3d 328, 337 (11th Cir. 2013). The

Defendant maintains there are extraordinary and compelling reasons for sentence reduction

in his case because COVID-19 is in the correctional facility. As of the date of this Order,

FCI Oakdale I has five inmates and twenty-two staff members with confirmed active cases

of COVID-19 within its facility. See www.bop.gov/coronavirus (updated 12/30/2020).

The Defendant’s family members have also sent letters stating that they need him home to

take care of business matters and as a father. This Court therefore finds the Defendant’s

asserted reasons are not encompassed within the “extraordinary and compelling”

circumstances set forth in the policy statement of U.S.S.G. § 1B1.13. See, e.g., United

States v. Mitchell, No. 2:14-CR-15-WKW, 2020 WL 5521369, at *2-3 (M.D. Ala. Sept.

14, 2020).

       Furthermore, before granting a sentence reduction, the Court must consider the

sentencing factors set forth at 18 U.S.C. § 3553(a). These sentencing factors include the

nature and circumstances of the offense, the history and characteristics of the defendant,

the need for deterrence, the need to avoid unwarranted sentencing disparities, and the need

                                              3
     Case 2:13-cr-00144-RAH-SMD Document 118 Filed 12/30/20 Page 4 of 5




to protect the public from further crimes of the defendant. See 18 U.S.C. § 3583(e)(1) and

§ 3553(a). The Court now turns to the sentencing factors to determine whether a reduction

in sentence is warranted based on the Defendant’s conduct and is in the interest of justice.

       In this case, the Defendant entered a guilty plea to one count of aiding and abetting

wire fraud, in violation of 18 U.S.C. § 1343 and 18 U.S.C. § 2 (Count Two), and one count

of aiding and abetting aggravated identify theft, in violation of 18 U.S.C. § 1028A and 18

U.S.C. § 2 (Count Seven). The statutory penalty for a violation of 18 U.S.C. § 1343 is not

more than 20 years of imprisonment and a violation of 18 U.S.C. § 1028A is two years.

The sentencing guideline range was 87 to 108 months as to Count Two, plus 24 months as

to Count Seven. (Doc. 98.)

       In this case, the Court accepted the plea agreement and sentenced the Defendant to

108 months of imprisonment on Count Two and 24 months of imprisonment on Count

Seven to be served consecutively. The Defendant began serving his sentence on October

28, 2014. When considering the nature and circumstances of the offenses, as well as the

other sentencing factors, the Court concludes that the Defendant has not shown

extraordinary or compelling reasons or any other basis to reduce his sentence, and therefore

the Court is without authority to grant the Defendant’s relief.

                                     CONCLUSION

       Accordingly, for the reasons as stated, it be and is hereby

       ORDERED that the Pro Se Renewed Motion for Reduction of Sentence (Doc. 107)

is DENIED.



                                             4
Case 2:13-cr-00144-RAH-SMD Document 118 Filed 12/30/20 Page 5 of 5




 DONE, this 30th day of December, 2020.


                                 /s/ R. Austin Huffaker, Jr.
                          R. AUSTIN HUFFAKER, JR.
                          UNITED STATES DISTRICT JUDGE




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